          COMPLAINT EXHIBIT A




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                    GENERAL ASSEMBLY OF NORTH CAROLINA
                                SESSION 2015


                                  SESSION LAW 2015-138
                                     HOUSE BILL 263


AN ACT TO MODIFY THE FORM OF GOVERNMENT IN THE CITY OF TRINITY AND
  TO CLARIFY THE FORM OF GOVERNMENT, METHOD OF ELECTION, AND
  DETERMINATION OF ELECTION RESULTS IN THE CITY OF GREENSBORO.

The General Assembly of North Carolina enacts:


CITY OF TRINITY ELECTIONS
            SECTION 1.(a) Chapter III of the Charter of the City of Trinity, as enacted by S.L.
1997-44, reads as rewritten:
                                          "CHAPTER III.
                                      "GOVERNING BODY.
    "Section 3-1. Structure of the Governing Body; Number of Members. The governing
body of the City of Trinity is the City Council which has eight five members.
    "Section 3-2. Manner of Electing Council. The city is divided into four wards, each with
two members, one member, and the qualified voters of the entire city elect candidates who
reside in that ward for the seats apportioned to that ward. Each ward shall have the same
number of persons as nearly as practicable. Additionally, one member who resides in the city
shall be elected at large by all the qualified voters of the entire city.
    "Section 3-3. Term of Office of Council Members. Members of the Council are elected to
four-year two-year terms. In 1997, two persons shall be elected for each ward. The candidate in
each ward receiving the highest number of votes is elected to a four-year term, and the
candidate receiving the next highest number of votes is elected to a two-year term. In 1999 and
biennially thereafter, one member shall be elected from each ward for a four-year term.
    "Section 3-4. Mayor; Term of Office. In 1997 2017 and quadrennially biennially
thereafter, the Mayor shall be selected by the qualified voters of the city for a four-year
two-year term.
    "Section 3-5. Vacancies. Notwithstanding G.S. 160A-63, any Any person appointed to fill
a vacancy in the City Council or as Mayor shall serve for the remainder of the unexpired term."
            SECTION 1.(b) In the 2015 election, no member shall be elected from any ward.
In the 2015 election, the member to be elected at-large by all the qualified voters of the City of
Trinity, as established by Section 1(a) of this act, shall be elected.
            SECTION 1.(c) This section applies only to the City of Trinity.

CITY OF GREENSBORO ELECTIONS
           SECTION 2.(a) Notwithstanding any other provision of law, the City of
Greensboro shall operate under the Council-Manager form of government in accordance with
Part 2 of Article 7 of Chapter 160A of the General Statutes.
           SECTION 2.(b) Notwithstanding Part 4 of Article 5 of Chapter 160A of the
General Statutes and G.S. 160A-23, the City of Greensboro shall not alter or amend the form of
government for the City. Upon the return of the 2020 federal decennial census, the North
Carolina General Assembly shall revise the districts set out in this section, if needed. The City
of Greensboro may submit proposed changes to the districts set out in this section to the North
Carolina General Assembly.
           SECTION 2.(c) Section 3.01 of the Charter of the City of Greensboro, as set forth
in Section 1 of Chapter 1137 of the Session Laws of 1959, as amended by Chapter 213 of the
Session Laws of 1973 and by Ordinances 82-113 and 83-7 adopted by the City Council, is
amended by rewriting that section to read:


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    "Section 3.01. Composition and Term of the Mayor and City Council. The City Council
shall consist of eight members, each residing in and elected from districts, who shall be elected
for a term of four years beginning in 2015 in the manner provided by Chapter II. In addition,
there shall be a mayor who shall be elected for a term of four years in the manner provided by
Chapter II. The eight single-member districts are as follows:
District 1: Guilford County: VTD: FEN1: Block(s) 0810128041019, 0810128041027,
   0810128041028, 0810128041029, 0810128041030, 0810128041032, 0810128041033,
   0810128041034, 0810128041035, 0810128041036, 0810128051050, 0810128051065,
   0810128051066, 0810168001015, 0810168001016, 0810168001017, 0810168001018,
   0810168001019, 0810168001020, 0810168001021, 0810168001022, 0810168001023,
   0810168001024, 0810168001025, 0810168002001, 0810168002002, 0810168002039,
   0810168002040, 0810168002041, 0810168002042, 0810168002043, 0810168002044,
   0810168002046, 0810168002071, 0810168002073, 0810168002074, 0810168002091,
   0810171001010, 0810171001011, 0810171001012, 0810171001013, 0810171001014,
   0810171001031, 0810171001033, 0810171001034, 0810171001035, 0810171001036,
   0810171001037, 0810171001044, 0810171001046, 0810171001047, 0810171001048,
   0810171001049, 0810171001050, 0810171001051, 0810171001059, 0810171001060,
   0810171001061; VTD: G01, VTD: G02, VTD: G04, VTD: G07, VTD: G11, VTD: G67,
   VTD: G68, VTD: G71, VTD: G72, VTD: G74, VTD: G75: Block(s) 0810113002015,
   0810113004013, 0810128032038, 0810128032039, 0810128032085, 0810128032086,
   0810128032087, 0810128041000, 0810128041001, 0810128041002, 0810128041003,
   0810128041004, 0810128041005, 0810128041018, 0810128051000, 0810128051001,
   0810128051002, 0810128051003, 0810128051004, 0810128051005, 0810128051006,
   0810128051007, 0810128051008, 0810128051009, 0810128051010, 0810128051011,
   0810128051012, 0810128051013, 0810128051014, 0810128051015, 0810128051016,
   0810128051017, 0810128051018, 0810128051019, 0810128051020, 0810128051021,
   0810128051022, 0810128051023, 0810128051024, 0810128051025, 0810128051026,
   0810128051027, 0810128051028, 0810128051029, 0810128051030, 0810128051031,
   0810128051032, 0810128051033, 0810128051034, 0810128051035, 0810128051036,
   0810128051037, 0810128051038, 0810128051039, 0810128051040, 0810128051044,
   0810128051045, 0810128051048, 0810128051052, 0810128051053, 0810128051054,
   0810128051055, 0810128051056, 0810128051060, 0810128051061, 0810128051062,
   0810128051063, 0810128051064; VTD: JEF1: 0810128031062, 0810128031063,
   0810128031064, 0810153002020, 0810153002022, 0810153002028, 0810153002031,
   0810153002037, 0810153002038, 0810154021017, 0810154021022, 0810154021023,
   0810154021029, 0810154021031, 0810154021032, 0810154021033, 0810154021036;
   VTD: JEF2: 0810111021019, 0810111021022, 0810111021023, 0810111021024,
   0810111021025, 0810128031025, 0810128031032, 0810128031037, 0810128031040,
   0810128031041, 0810128031050, 0810128031051, 0810128031054, 0810128031055,
   0810128031056, 0810128031068, 0810128031070, 0810128031071, 0810128031072,
   0810128031073, 0810128031089, 0810128031090, 0810128031096, 0810128032000,
   0810128032001, 0810128032002, 0810128032003, 0810128032008, 0810128032009,
   0810128032014, 0810128032020, 0810128032021, 0810128032025, 0810128032094,
   0810153003026, 0810153003027, 0810153003035, 0810153003037, 0810153003042,
   0810153003047, 0810153003048, 0810153003050, 0810153003051, 0810153003052,
   0810153003053, 0810153003054, 0810153003055, 0810153003056, 0810153003057,
   0810153003058, 0810153003059, 0810153003060, 0810153003061, 0810153003064,
   0810153003065, 0810153003066, 0810153003067, 0810153003081, 0810153003087,
   0810153003088, 0810153003089, 0810153003092; VTD: JEF3: 0810128032022,
   0810128032023, 0810128032024, 0810128032030, 0810128032033, 0810128032034,
   0810128032044, 0810128032057, 0810128032060, 0810128032061, 0810128032068,
   0810128032069, 0810128032070, 0810128032071, 0810128032076, 0810128032078,
   0810128032079, 0810128032080, 0810128032081, 0810128032082, 0810128032088,
   0810128032089, 0810128032090, 0810128032093, 0810128032095, 0810172001061,
   0810172001065, 0810172001068, 0810172001069, 0810172001070, 0810172001071,
   0810172001072, 0810172001118; VTD: JEF4: 0810172001001, 0810172001002,
   0810172001003, 0810172001004, 0810172001005, 0810172001006, 0810172001008,
   0810172001009, 0810172001010, 0810172001012, 0810172001013, 0810172001014,
   0810172001015, 0810172001017, 0810172001018, 0810172001019, 0810172001020,
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   0810172001021, 0810172001022, 0810172001025, 0810172001026, 0810172001027,
   0810172001050, 0810172001051, 0810172001052, 0810172001053, 0810172001056,
   0810172001057, 0810172001058, 0810172001060, 0810172001064, 0810172001079,
   0810172001083, 0810172001084, 0810172001093, 0810172001094, 0810172001095,
   0810172001103, 0810172001104, 0810172001105, 0810172001119, 0810172001120,
   0810172001121, 0810172002030; VTD: PG1: 0810168004000.
District 2: Guilford County: VTD: G03, VTD: G05, VTD: G06: Block(s) 0810127052000,
   0810127052011, 0810127052012, 0810127052013, 0810127052014, 0810127052015,
   0810127052016, 0810127052022, 0810127052023, 0810127062000, 0810127062001,
   0810127062002, 0810127062003, 0810127062009, 0810127062010, 0810127062017,
   0810127071000, 0810127071001, 0810127071002, 0810127071003, 0810127071017,
   0810127071018, 0810127071019, 0810127071020, 0810127071021, 0810127071022,
   0810127071023, 0810128031001, 0810128031004, 0810128031005, 0810128031009,
   0810128031010, 0810128031012, 0810128031013, 0810128031014, 0810128031015,
   0810128031023, 0810128031026, 0810128031027, 0810128031028, 0810128031091,
   0810154021016; VTD: G08, VTD: G09, VTD: G10, VTD: G24, VTD: G26: Block(s)
   0810155001044, 0810155001045, 0810155001046, 0810155001050, 0810155001051,
   0810155001059, 0810155001060, 0810155001061, 0810155001082, 0810157032000,
   0810157032001, 0810157032002, 0810157032003, 0810157032004, 0810157032005,
   0810157032006, 0810157032007, 0810157032008, 0810157032009, 0810157032010,
   0810157032011, 0810157032012, 0810157032013, 0810157032014, 0810157032015,
   0810157032016, 0810157032017, 0810157032018, 0810157032024, 0810157032025,
   0810157032026, 0810157032027, 0810157032032, 0810157032033, 0810157032034,
   0810157032035, 0810157061056, 0810157061060, 0810157061061, 0810157061062,
   0810157062019, 0810157062023, 0810157062024, 0810157062025, 0810157062026,
   0810157062028, 0810157062029, 0810157062030, 0810157062031, 0810157062032,
   0810157062034, 0810157062039, 0810157062040, 0810157062041, 0810157062042,
   0810157062043, 0810157062044, 0810157062045, 0810157062046, 0810157062047,
   0810157062048, 0810157062049, 0810157062050, 0810157062051; VTD: JEF1:
   0810128031021, 0810128031034, 0810128031095, 0810154021007, 0810154021008,
   0810154021009, 0810154021010, 0810154021011; VTD: MON1: 0810154022015,
   0810154023001, 0810154023018, 0810154024000, 0810154024002, 0810154024004,
   0810154024008, 0810154024009, 0810154024010, 0810154024012, 0810154024013,
   0810154024024, 0810154024028, 0810154024041, 0810154024047, 0810154024050,
   0810154024051, 0810154024060, 0810154024064; VTD: MON2: 0810154011021,
   0810154011024, 0810154011025, 0810154011026, 0810154011027, 0810154011028,
   0810154011029, 0810154011030, 0810154011031, 0810154011032, 0810154011033,
   0810154011034, 0810154011035, 0810154011036, 0810154011037, 0810154011038,
   0810154011039, 0810154011042, 0810154011044, 0810154011045, 0810154011048,
   0810154011049, 0810154011050, 0810154011054, 0810154011056, 0810154011057,
   0810154011058, 0810154011059, 0810154011060, 0810154011061, 0810154011062,
   0810154011063, 0810154011067, 0810154011068, 0810154011069, 0810154011070,
   0810155001000, 0810155001001, 0810155001002, 0810155001004, 0810155001008,
   0810155001009, 0810155001010, 0810155001011, 0810155001012, 0810155001017,
   0810155001018, 0810155001033, 0810155001034, 0810155001035, 0810155001036,
   0810155001038, 0810155001039, 0810155001043, 0810155001047, 0810155001048,
   0810155001049, 0810155001052, 0810155001055, 0810155001058, 0810155001063,
   0810155001064, 0810155001067, 0810155001068, 0810155001072, 0810155001077,
   0810155001089, 0810155001093, 0810155001095, 0810155002000, 0810155002001,
   0810155002002, 0810155002003, 0810155002004, 0810155002005, 0810155002006,
   0810155002007, 0810155002008, 0810155002009, 0810155002010, 0810155002011,
   0810155002013, 0810155002014, 0810155002015, 0810155002016, 0810155002017,
   0810155002018, 0810155002019, 0810155002024, 0810155002025, 0810155002026,
   0810155002027, 0810155002029, 0810155002035, 0810155002043, 0810155002050,
   0810155002054, 0810156002113, 0810157062014, 0810157062015, 0810157062018,
   0810157062027.
District 3: Guilford County: VTD: G12, VTD: G13, VTD: G14, VTD: G15, VTD: G16, VTD:
   G17, VTD: G18, VTD: G19, VTD: G20, VTD: G21, VTD: G35: Block(s) 0810125053003,
   0810125053004, 0810125053005; VTD: G45, VTD: G47, VTD: G51.
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District 4: Guilford County: VTD: G44, VTD: G46, VTD: G52, VTD: G53: Block(s)
   0810128041006, 0810128041007, 0810128041008, 0810128041009, 0810128041010,
   0810128041011, 0810128041012, 0810128041013, 0810128041014, 0810128041015,
   0810128041016, 0810128041017, 0810128041020, 0810128041021, 0810128041022,
   0810128041023, 0810128041024, 0810128041025, 0810128041026, 0810128041037,
   0810128041038, 0810128041039, 0810128041040, 0810128041041, 0810128041042,
   0810128042000, 0810128042001, 0810128042002, 0810128042003, 0810128042004,
   0810128042005, 0810128042006, 0810128042007, 0810128042008, 0810128042009,
   0810128042010, 0810128042011, 0810128042012, 0810128042013, 0810128042014,
   0810128042015, 0810128042016, 0810128042017, 0810128042018, 0810128042019,
   0810128042020, 0810128042021, 0810128042022, 0810168002004, 0810168002005,
   0810168002006, 0810168002007, 0810168002008, 0810168002009, 0810168002010,
   0810168002011, 0810168002012, 0810168002013, 0810168002015, 0810168002016,
   0810168002017, 0810168002018, 0810168002020, 0810168002024, 0810168002026,
   0810168002028, 0810168002029, 0810168002030, 0810168002031, 0810168002050,
   0810168002051, 0810168002053, 0810168002057; VTD: G54, VTD: G55: Block(s)
   0810126111037, 0810126111038, 0810126122000, 0810126122001, 0810126122002,
   0810126122003, 0810126122004, 0810126122005, 0810126122006, 0810126122007,
   0810126122008, 0810126122009, 0810126122010, 0810126122011, 0810126122012,
   0810126122026, 0810126122027, 0810126122028, 0810126122029, 0810126123000,
   0810126123001, 0810126123002, 0810126123003, 0810126123004, 0810126123005,
   0810126123006, 0810126123007, 0810126123008, 0810126123009, 0810126123010,
   0810126123011, 0810126123012, 0810126123013, 0810126123014, 0810126123015,
   0810126123016, 0810126123017, 0810126123018, 0810126123019, 0810167011000,
   0810167011001, 0810167011002, 0810167011003, 0810167011004, 0810167011005,
   0810167011006, 0810167011019, 0810167011021, 0810167011022, 0810167011023,
   0810167011024, 0810167011025; VTD: G69, VTD: G70, VTD: G73, VTD: SUM1:
   Block(s)   0810167011008,    0810167011009,   0810167011010,     0810167011011,
   0810167011012, 0810167011013, 0810167011014, 0810167011015, 0810167011016,
   0810167011017, 0810167011018, 0810167011020, 0810167011092, 0810167011093,
   0810167011094, 0810167012000, 0810167012001, 0810167012005, 0810167012006;
   VTD: SUM2: 0810167011058, 0810167011060, 0810167011065, 0810167011066,
   0810167011067, 0810167011068, 0810167011069, 0810167011070, 0810167011082,
   0810167011083, 0810167013003, 0810167013005, 0810167013006, 0810167013007,
   0810167013008, 0810167013009, 0810168002023, 0810168002034, 0810168002035,
   0810168002047, 0810168002049, 0810168002052, 0810168002054, 0810168002055,
   0810168002056, 0810168002058, 0810168002059, 0810168002060, 0810168002061,
   0810168002062, 0810168002063, 0810168002064, 0810168002068, 0810168002070,
   0810168002092.
District 5: Guilford County: VTD: FR1: Block(s) 0810165031005, 0810165031023,
   0810165031026, 0810165031027, 0810165031030, 0810165031031, 0810165031032,
   0810165031033, 0810165031034, 0810165031035, 0810165031036, 0810165031037,
   0810165031038, 0810165031039, 0810165031040, 0810165031041, 0810165031042,
   0810165031043, 0810165031044, 0810165031045, 0810165031046, 0810165031047,
   0810165031048, 0810165031049, 0810165031050, 0810165031051, 0810165032000,
   0810165032001, 0810165032007, 0810165032008, 0810165032011, 0810165032012,
   0810165032013, 0810165032014, 0810165032015, 0810165032016, 0810165032017,
   0810165032018, 0810165032019, 0810165032020, 0810165032021, 0810165032022,
   0810165032025, 0810165032026, 0810165032027, 0810165032028, 0810165032030,
   0810165032031, 0810165032032, 0810165051001, 0810165051002, 0810165051003,
   0810165051004, 0810165051005, 0810165051007, 0810165051009, 0810165051010,
   0810165051024, 0810165052002, 0810165061000, 0810165061001, 0810165061002,
   0810165061003, 0810165061004, 0810165061006, 0810165061007, 0810165061008,
   0810165062000, 0810165062001, 0810165062007; VTD: FR2: 0810164051062; VTD:
   FR4: 0810160081040, 0810160081041, 0810160081042, 0810160081055, 0810160081056,
   0810160111008, 0810160111041, 0810160111043, 0810160111052, 0819801001014,
   0819801001024, 0819801001041, 0819801001042; VTD: FR5: 0810160031039,
   0810160031040, 0810160031041, 0810160031042, 0810160031043, 0810160031044,
   0810160081029, 0810160081030, 0810160081036, 0810160081037, 0810160081038,
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   0810160081039, 0810160081043, 0810160081046, 0810160081047, 0810160081053,
   0810160081054, 0810160081058, 0810160111053, 0810160111054, 0819801001008,
   0819801001012, 0819801001013; VTD: G38, VTD: G42, VTD: G43, VTD: G62, VTD:
   G63, VTD: G64: Block(s) 0810160111014, 0810160111019, 0810160111020,
   0810160111021, 0810160111023, 0810160111024, 0810160111025, 0810160111027,
   0810160111029, 0810160111033, 0810160111036, 0810160111038, 0810160111039,
   0810160111044, 0810160111046, 0810160111047, 0810160111048, 0810160111049,
   0810160111055, 0810160111056, 0810160111057, 0810160111058, 0810160111059,
   0810160111060, 0810160111061, 0810160111062, 0810160111064, 0810160111065,
   0810160111066, 0810160111067, 0810160111068, 0810160111069, 0810160111070,
   0810160111071, 0810160111072, 0810160111073, 0810160111074, 0810160111075,
   0810160111076, 0810160111077, 0810160111078, 0810160111079, 0810160112000,
   0810160112001, 0810160112002, 0810160112003, 0810160112004, 0810160112005,
   0810160112006, 0810160112007, 0810160112008, 0810160112009, 0810160112010,
   0810160112011, 0810160112012, 0810160112013, 0810160112014, 0810160112015,
   0810160112016, 0810160112017, 0810160112018, 0810160113000, 0810160113001,
   0810160113002, 0810160113003, 0810160113004, 0810160113006, 0810160113007,
   0810160113008, 0810160114000, 0810160114001, 0810160114002, 0810160114003,
   0810160114004, 0810160114005, 0810162041000, 0810162041001, 0810162041005,
   0810162041017, 0810162041018, 0810162041019, 0810162041020, 0810162041021,
   0810162041022, 0810162041024, 0810162041039, 0810164051000, 0810164051001,
   0810164051002, 0810164051003, 0810164051004, 0810164051005, 0810164051006,
   0810164051007, 0810164051008, 0810164051009, 0810164051010, 0810164051011,
   0810164051012, 0810164051013, 0810164051014, 0810164051015, 0810164051016,
   0810164051017, 0810164051018, 0810164051019, 0810164051020, 0810164051021,
   0810164051022, 0810164051023, 0810164051024, 0810164051026, 0810164051030,
   0810164051031, 0810164051032, 0810164051038, 0810164051044, 0810164051045,
   0810164051046, 0810164051047, 0810164051048, 0810164051049, 0810164051050,
   0810164051051, 0810164051052, 0810164051053, 0810164051059, 0810164051060,
   0810164051063, 0810164061000, 0810164061001, 0810165031000, 0810165031001,
   0810165031002, 0810165031003, 0810165031004, 0810165031006, 0819801001039;
   VTD: G65, VTD: G66, VTD: HP: Block(s) 0810164051028, 0810164051029,
   0810164051039, 0810164051054; VTD: JAM2: 0810165051020, 0810165051021,
   0810165051022, 0810165051023, 0810165063000, 0810165063013; VTD: JAM3:
   0810165021029, 0810165021040, 0810165021041, 0810165021044, 0810165023003;
   VTD: JAM4: 0810165022032, 0810165022033, 0810165022036, 0810165022038,
   0810165022047, 0810165022051, 0810165022054, 0810165022055, 0810165022056,
   0810165022060, 0810165022062, 0810165022067, 0810165022069, 0810165022071,
   0810165022073, 0810165023016, 0810165023018, 0810165023019, 0810165023020,
   0810165023021, 0810165023032, 0810165023037, 0810165023038, 0810165023039,
   0810165023041, 0810165023042, 0810167012048; VTD: NDRI: 0810162012004,
   0810162012005, 0810162012006, 0810162012007, 0810162012008, 0810162012036,
   0810162012037, 0810162012038, 0810162012039, 0810162012040, 0810162012041,
   0810162012043, 0810162012044, 0810162012045, 0810162012046, 0810162012047,
   0810162012048, 0810162012049, 0810162012050, 0810162012051, 0810162012052,
   0810162012053, 0810162012054, 0810162012055, 0810162012056, 0810162012057,
   0810162012058, 0810162012063, 0810162012064, 0810162012065, 0810162012066,
   0810162012067, 0810162012068, 0810162012069, 0810162012070, 0810162012071,
   0810162012072, 0810162012073, 0810162012074; VTD: SDRI: 0810162031000,
   0810162031001, 0810162031002, 0810162031003, 0810162031007, 0810162031008,
   0810162031009, 0810162031010, 0810162031012, 0810162031013, 0810162031014,
   0810162041002, 0810162041003, 0810162041004, 0810162041006; VTD: SUM1:
   0810165022035, 0810165022040, 0810165022046.
District 6: Guilford County: VTD: G37, VTD: G48, VTD: G49, VTD: G50, VTD: G56, VTD:
   G57, VTD: G58, VTD: G59: Block(s) 0810126091028, 0810126091029, 0810126091035,
   0810126091036, 0810126091037, 0810126091038, 0810126091039, 0810126091040,
   0810126091041, 0810126091042, 0810126091043, 0810126091044, 0810126091045,
   0810126091046, 0810126091047, 0810126091048, 0810126091049, 0810126091050,
   0810126091051, 0810126091052, 0810126091053, 0810126091054, 0810126091055,
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   0810126091056, 0810126091057, 0810126092005, 0810126093000, 0810126093003,
   0810126093013, 0810126093014, 0810126093015, 0810126093016, 0810126093017,
   0810126093018, 0810126093019, 0810126093020, 0810126093021, 0810126093022,
   0810126093023, 0810165022000, 0810165022001, 0810165022002, 0810165022003,
   0810165022004, 0810165022005, 0810165022006, 0810165022007, 0810165022008,
   0810165022075, 0810165022077; VTD: G60, VTD: G61, VTD: JAM3: Block(s)
   0810126094008, 0810126094010, 0810165021004.
District 7: Guilford County: VTD: CG1: Block(s) 0810157041005, 0810157041010,
   0810157041011, 0810157041012, 0810157041013, 0810157041014, 0810157041017,
   0810157041018, 0810157041019, 0810157041020, 0810157041021, 0810157041022,
   0810157041023, 0810157041024, 0810157041027, 0810157041028, 0810157041030,
   0810157041032, 0810157041036, 0810157041037, 0810157041038, 0810157041039,
   0810157041040, 0810157041041, 0810157041042, 0810157041043, 0810157041044,
   0810157041049, 0810157041050, 0810157041051, 0810157041052, 0810157041053,
   0810157041057, 0810157042010, 0810157042011, 0810157042012, 0810157042013,
   0810157042014, 0810157042015, 0810157042016, 0810157051000, 0810157052003,
   0810158003053, 0810158003055, 0810158003057, 0810158003066, 0810160062000,
   0810160062001, 0810160062002; VTD: FR3, VTD: FR4: Block(s) 0810160091000,
   0810160091001, 0810160091002, 0810160091003, 0810160091004, 0810160091005,
   0810160091006, 0810160091007, 0810160091008, 0810160091009, 0810160091010,
   0810160091011, 0810160091012, 0810160091013, 0810160091014, 0810160091020,
   0810160091021, 0810160091022, 0810160091024, 0810160091025, 0810160091026,
   0810160091027, 0810160091045, 0810160091046; VTD: FR5: 0810160031049,
   0810160031050, 0810160031052, 0810160081000, 0810160081001, 0810160081002,
   0810160081003, 0810160081004, 0810160081006, 0810160081007, 0810160081008,
   0810160081010, 0810160081011, 0810160081012, 0810160081013, 0810160081014,
   0810160081016, 0810160081017, 0810160081018, 0810160081019, 0810160081020,
   0810160081021, 0810160081022, 0810160081023, 0810160081024, 0810160081033,
   0810160081057, 0810160082017, 0810160082018, 0810160082019, 0810160082020,
   0810160082021, 0810160082022, 0810160082023, 0810160082024, 0810160082025,
   0810160082026, 0810160082028, 0810160082029, 0810160083018, 0810160083019;
   VTD: G34, VTD: G35: Block(s) 0810125041000, 0810125041013, 0810125051000,
   0810125051001, 0810125052000, 0810125052001, 0810125052002, 0810125052003,
   0810125052004, 0810125052005, 0810125052006, 0810125052007, 0810125052008,
   0810125052009, 0810125052010, 0810125052011, 0810125052012, 0810125052013,
   0810125052014, 0810125052015, 0810125052016, 0810125052017, 0810125052018,
   0810125052019, 0810125052020, 0810125052022; VTD: G36, VTD: G39, VTD: G40A1,
   VTD: G40A2, VTD: G41: Block(s) 0810160061009, 0810160061010, 0810160061011,
   0810160061012, 0810160061013, 0810160071009, 0810160071010, 0810160071011,
   0810160071012, 0810160071013, 0810160071014, 0810160071015, 0810160071016,
   0810160071017, 0810160071018, 0810160091019, 0810160091023, 0810160091029,
   0810160091030, 0810160091031, 0810160091032, 0810160091033, 0810160101005,
   0810160101006, 0810160101007, 0810160101008, 0810160101009, 0810160101010,
   0810160101011, 0810160101012, 0810160101013, 0810160101014, 0810160101015,
   0810160101016, 0810160101018, 0810160101019, 0810160101020, 0810160102000,
   0810160102001, 0810160102002, 0810160102003, 0810160102004, 0810160102005,
   0810160102006, 0810160102007, 0810160102008, 0810160102009, 0810160102010,
   0810160102011, 0810160102012, 0810160102013, 0810160102014, 0810160102015,
   0810160102020, 0810160102021; VTD: NCGR1: 0810157041006, 0810157041007,
   0810157041008, 0810157041009, 0810158003049, 0810158003050, 0810158003051,
   0810158003052, 0810158003054, 0810158003056; VTD: SF1: 0810157041035,
   0810158001060, 0810158001066, 0810158001068, 0810158001069, 0810158001070,
   0810158003043, 0810158003046, 0810158003047, 0810158003058, 0810158003059,
   0810160051006; VTD: SF3: 0810157041015, 0810157041016, 0810157041031,
   0810157041033, 0810157041034, 0810157041054, 0810157041055, 0810157041056,
   0810158001071, 0810158003048, 0810158003060, 0810160032000, 0810160051000,
   0810160051001, 0810160051003, 0810160051004, 0810160051005, 0810160051008,
   0810160051009, 0810160051010, 0810160051011, 0810160051012, 0810160051013,
   0810160051014, 0810160051015, 0810160051016, 0810160051018, 0810160051019,
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    0810160051023, 0810160051026, 0810160051027, 0810160051028, 0810160051031,
    0810160051032, 0810160051035, 0810160051037, 0810160051038, 0810160051039,
    0810160051040, 0810160051041, 0810160051042, 0810160051043, 0810160051044,
    0810160051045, 0810160051046, 0810160062003, 0810160062004, 0810160062005,
    0810160062006, 0810160062007, 0810160062008, 0810160083003, 0810160083004,
    0810160083012, 0810160092000, 0810160092001, 0810160092003; VTD: SF4:
    0810160031000, 0810160031002, 0810160032001, 0810160032013, 0810160032014,
    0810160032023, 0810160082000, 0810160082001, 0810160082002, 0810160082003,
    0810160082005, 0810160082006, 0810160082007, 0810160082009, 0810160082010,
    0810160082011, 0810160082012, 0810160082013, 0810160082014, 0810160082015,
    0810160082016, 0810160082027, 0810160083005, 0810160083006, 0810160083008,
    0810160083010, 0810160083013, 0810160083014, 0810160083015, 0810160083016,
    0810160083017, 0810160092004.
District 8: Guilford County: VTD: CG2: Block(s) 0810156001085, 0810156001086,
    0810156001087, 0810157041000, 0810157041001, 0810157041002, 0810157041003,
    0810157041004, 0810157041045, 0810157041046, 0810157041047, 0810157041048,
    0810157061001, 0810157061002, 0810157061004, 0810157061005, 0810157061006,
    0810157061014, 0810157071001, 0810157071002, 0810157071006, 0810157071007,
    0810157071008; VTD: CG3A: 0810157031000, 0810157031001, 0810157031002,
    0810157031004, 0810157031005, 0810157031006, 0810157031007, 0810157061068,
    0810157061069, 0810157061070, 0810157061073, 0810157061074, 0810157061075,
    0810157061076, 0810157061077, 0810157061078, 0810157061079, 0810157061088,
    0810157061089, 0810157061090, 0810157061091, 0810157071000, 0810157071003,
    0810157071009, 0810157071010, 0810157073000, 0810157073002, 0810157073004,
    0810157073005, 0810157073006, 0810157073007; VTD: CG3B: 0810157061009,
    0810157061016, 0810157061021, 0810157061022, 0810157061023, 0810157061024,
    0810157061026, 0810157061028, 0810157061029, 0810157061030, 0810157061031,
    0810157061032, 0810157061033, 0810157061034, 0810157061036, 0810157061037,
    0810157061039, 0810157061041, 0810157061042, 0810157061043, 0810157061044,
    0810157061045, 0810157061046, 0810157061047, 0810157061048, 0810157061049,
    0810157061050, 0810157061051, 0810157061052, 0810157061053, 0810157061054,
    0810157061057, 0810157061058, 0810157061059, 0810157061063, 0810157061064,
    0810157061065, 0810157061066, 0810157061067, 0810157061071, 0810157061072,
    0810157061080, 0810157061081, 0810157061082, 0810157061084, 0810157061085,
    0810157061086, 0810157062009, 0810157062010, 0810157062012, 0810157062016,
    0810157062017, 0810157062020, 0810157062021, 0810157062022, 0810157062033,
    0810157062035, 0810157062036, 0810157062037, 0810157062038, 0810157062052;
    VTD: G22, VTD: G23, VTD: G25, VTD: G27, VTD: G28, VTD: G29, VTD: G30, VTD:
    G31, VTD: G32, VTD: G33, VTD: G40B, VTD: MON2: Block(s) 0810156002110,
    0810156002112; VTD: MON3: 0810151002047, 0810151002048, 0810151002049,
    0810151002050, 0810155001013, 0810155001014, 0810155001015, 0810155001016,
    0810155001019, 0810155001020, 0810155001021, 0810155001023, 0810155001024,
    0810155001025, 0810155001028, 0810155001030, 0810155001031, 0810155001032,
    0810155001042, 0810155001092, 0810156002086, 0810156002090, 0810156002091,
    0810156002092, 0810156002093, 0810156002094, 0810156002095, 0810156002107,
    0810156002109, 0810156002111, 0810156002114, 0810156002115, 0810156002116,
    0810156002119, 0810156003042, 0810156003043, 0810156003048, 0810157062002,
    0810157062006, 0810157062013; VTD: NCGR1: 0810156001052, 0810156001071,
    0810156001077, 0810156001078, 0810156001079, 0810156001080, 0810156001081,
    0810156001082, 0810156001084, 0810157061000, 0810157061003, 0810157061095,
    0810157062003, 0810157062007, 0810157062008; VTD: NMAD: 0810151002040,
    0810151002041, 0810151002042, 0810151002043, 0810151002072; VTD: SMAD:
    0810154011012, 0810154011013, 0810154011014, 0810154011015, 0810154011016,
    0810154011017, 0810154011018, 0810154011019, 0810154011071, 0810154011072.
     The names and boundaries of voting tabulation districts, tracts, block groups, and blocks
specified in this section are as shown on the 2010 Census Redistricting TIGER/Line Shapefiles.
If any voting tabulation district boundary is changed, that change shall not change the boundary
of a district, which shall remain the same as it is depicted by the 2010 Census Redistricting
TIGER/Line Shapefiles. If any voting tabulation district, tract, block group, or block assigned
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to a district does not contain a portion of the City, the assignment of the voting tabulation
district, tract, block group, or block does not alter or change the municipal limits of the City
and only those areas within the municipal limits are assigned to the district. If any area within
the City is not assigned to a specific district by this section, then that area shall be assigned as
follows:
             (1)     If the area is entirely surrounded by a single district, the area shall be
                     deemed to have been assigned to that district.
             (2)     If the area is contiguous to two or more districts, the area shall be deemed to
                     have been assigned to that district which contains the least population
                     according to the 2010 United States Census."
             SECTION 2.(d) Section 3.23(b) of the Charter of the City of Greensboro, as set
forth in Section 1 of Chapter 1137 of the Session Laws of 1959, as amended by Chapter 213 of
the Session Laws of 1973 and Chapter 896 of the Session Laws of 1989, reads as rewritten:
    "(b) The Mayor shall be considered and given the same status as a member of the
Council for the purpose of determining a quorum of the City Council and for the purpose of
voting. may vote only in the case of a tie amongst the members of the City Council. Provided,
further, the Mayor shall have a vote in the consideration of the employment, discipline, or
dismissal of the City Manager and the City Attorney. A majority of the members of the Council
shall constitute a quorum to do business, but a less number may adjourn from time to time and
compel the attendance of absent members by ordering them to be taken into custody. The
affirmative vote of a majority of the members of the Council shall be necessary to adopt any
ordinance. All other matters voted upon shall be by majority vote of the Council members
present but no ordinance shall be adopted on the same day it is introduced unless five
affirmative votes are received in favor of it. Nevertheless, with respect to any ordinance
amending the budget to appropriate funds from the Unappropriated Fund Balance of the
General Fund, the affirmative vote of seven three-fourths of the members of the council shall
be necessary to adopt any such amendment, except in case of an emergency. For the purpose of
this section, an emergency is an unforeseen occurrence or condition calling for immediate
action to avert imminent danger to life, health, or property and to secure the public safety. No
member shall be excused from voting except on matters involving the consideration of his own
official conduct or involving his financial interest."
             SECTION 2.(e) Section 3.81 of the Charter of the City of Greensboro, as set forth
in Section 1 of Chapter 1137 of the Session Laws of 1959, and amended by Chapter 142 of the
Session Laws of 1969, reads as rewritten:
    "Sec. 3.81. Mayor and Mayor Pro Tem.
    The mayor shall be the official head of the city and shall preside at council meetings. He
Except in accordance with Section 3.23(b) of this Charter, the mayor shall have a no vote upon
all measures coming before the council butand no veto. In the absence from the city or
disability of the mayor, the mayor pro tem. shall perform his duties. During the absence or
disability of both the mayor and mayor pro tem. the council shall select one of its number to
perform such duties.
    Either the mayor or the mayor pro tem shall be a proper party to receive and accept service
of all complaints, notices and other documents of a judicial nature on behalf of the city. The
mayor pro tem, as well as the mayor, shall have the authority to execute contracts, deeds or
other legal documents on behalf of the city, such documents having been first approved by the
city attorney."
             SECTION 2.(f) Notwithstanding any other provision of law, G.S. 163-293 shall
apply to elections in the City of Greensboro.
             SECTION 2.(g) This section applies only to the City of Greensboro.




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             SECTION 3. Section 1(a) of this act becomes effective the first Monday in
December 2015. Sections 2(c), 2(d), and 2(e) of this act become effective the first Monday in
December 2015 and apply to acts of the Mayor of Greensboro on or after that date. The districts
set out in Section 2(c) of this act shall be used to conduct the municipal election in 2015. The
filing period for the 2015 election for the City of Trinity and the City of Greensboro shall open
at 12:00 noon on July 27, 2015, and close at 12:00 noon on August 7, 2015. The remainder of
this act is effective when it becomes law and applies to elections held on or after that date and
to vacancies occurring on or after that date.
             In the General Assembly read three times and ratified this the 2nd day of July, 2015.


                                           s/ Philip E. Berger
                                              President Pro Tempore of the Senate


                                           s/ Tim Moore
                                              Speaker of the House of Representatives




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